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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.                                 No. 4:08CR00425-02 JLH

DEREK DESHAWN MACK                                                                DEFENDANT

                                            ORDER

       Pending before the Court is defendant’s Unopposed Motion to Continue Supervised Release

Revocation Hearing. Good cause having been shown, the motion is GRANTED. Document #103.

The hearing on the pending motion to revoke supervised release of defendant is hereby rescheduled

for FRIDAY, MAY 18, 2012, at 2:30 p.m., in Courtroom #4-D, Richard Sheppard Arnold United

States Courthouse, 500 West Capitol Avenue, Little Rock, Arkansas.

       IT IS SO ORDERED this 9th day of May, 2012.



                                                    _________________________________
                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
